

Kopasz v County of Erie (2017 NY Slip Op 06754)





Kopasz v County of Erie


2017 NY Slip Op 06754


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., DEJOSEPH, CURRAN, TROUTMAN, AND WINSLOW, JJ.


973 CA 16-02228

[*1]TIMOTHY KOPASZ, PLAINTIFF-RESPONDENT,
vCOUNTY OF ERIE, ERIE COUNTY STADIUM CORPORATION, BUFFALO BILLS, INC., AND LPCIMINELLI, INC., DEFENDANTS-APPELLANTS. (APPEAL NO. 1.)






COSTELLO, COONEY &amp; FEARON, PLLC, CAMILLUS (MEGAN E. GRIMSLEY OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
DOLCE PANEPINTO, P.C., BUFFALO (ANNE M. WHEELER OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Henry J. Nowak, Jr., J.), entered March 18, 2016. The order granted the motion of plaintiff for partial summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on August 15, 2017,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: September 29, 2017
Mark W. Bennett
Clerk of the Court








